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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                   )
 ANTHONY LOGAN,                                    )    Docket No. 2:16-CV-00464-GZS
                        Plaintiff                  )
                                                   )
 v.                                                )
                                                   )
 YORK COUNTY SHERIFF’S OFFICE                      )
 AND EMPLOYEES,                                    )
                     Defendants                    )
                                                   )



                               STIPULATION OF DISMISSAL


       NOW COME the parties and hereby stipulate that the above-entitled matter may be

dismissed, with prejudice and without costs or interest to any party.


Dated: July 31, 2017                                    /s/ Anthony Logan
                                                       Anthony Logan, pro se Plaintiff


Dated: July 31, 2017                                    /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.
                                                       Attorney for Defendants
Case 2:16-cv-00464-GZS Document 24 Filed 08/09/17 Page 2 of 2                      PageID #: 64




                            UNITED STATES DISTRICT COURT
                                    District of Maine

                                                    )
 ANTHONY LOGAN,                                     )    Docket No. 2:16-CV-00464-GZS
                        Plaintiff                   )
                                                    )
 v.                                                 )
                                                    )
 YORK COUNTY SHERIFF’S OFFICE,                      )
          Defendants                                )
                                                    )


                                    CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendant York County Sheriff, hereby certify that:

       !      Stipulation of Dismissal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              None

       Copies of the above documents have been provided to the Plaintiff via United States Mail,
postage prepaid, at the following address:

              Anthony Logan
              Maine State Prison
              807 Cushing Road
              Warren, ME 04864


Dated: August 9, 2017                                    /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Attorney for Defendant York County Sheriff
                                                        Wheeler & Arey, P.A.
                                                        27 Temple Street, P.O. Box 376
                                                        Waterville, ME 04903-0376




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